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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEVADA

SHIKEMA         WEST         and    KIMBERLY Case No. 2:18-cv-00716-JAD-EJY
HARDING,

               Plaintiffs,                          STIPULATION AND PROPOSED ORDER
                                                    FOR DISMISSAL WITH PREJUDICE OF
vs.                                                          ENTIRE ACTION

GENUINE PARTS COMPANY, a Nevada
Company; DOES I through XX; DOES
                                                                     ECF No. 30
CORPORATION I through XX; ROE
EMPLOYEES I through X,inclusive,

               Defendants.


       The undersigned parties, by and through their counsel of record, hereby stipulate and agree

pursuant to Federal Rule of Civil Procedure 41(a)(1(A)(ii) that the above-entitled mater is

DISMISSED WITH PREJUDICE in its entirety. Plaintiff and Defendant have settled this matter

and are to bear their own costs, fees, and expenses hereto.

      IT IS SO STIPULATED.
Dated this    id
               day 2f November, 2019.               Dated this   /   day of
                                                                           LIe   41
                                                                             4241/460
                                                                                   045
                                                                                       2019.

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                      ORDER FOR DISMISSAL WITH PREJUDICE

      Based ontothe
      Pursuant   theparties' stipulation
                     Stipulation         [ECFofNo.
                                 of Dismissal   the 30] and Plaintiff's
                                                    parties, good cause   appearing,
                                                                        claims againstIT IS
                                                                                       Defendants
HEREBY ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to bear
are hereby DISMISSED WITH PREJUDICE. Plaintiff and Defendant are to bear their own costs,
its own fees and costs. All hearing and trial dates are VACATED. The Clerk of Court is
directed to
expenses    CLOSE
          and fees. THIS CASE.

                                                   ______________________________
                                                   U.S. District Judge Jennifer A. Dorsey
                                                   Dated: December 31, 2019

                                           IT IS SO ORDERED:



                                           UNITED STATES DISTRICT COURT JUDGE


                                           DATES:




Respectfully Submitted By:



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